Case 22-19361-MBK                Doc 740      Filed 04/14/23 Entered 04/14/23 16:33:53                       Desc Main
                                            Document      Page 1 of 13


     COLE SCHOTZ P.C.                                           HAYNES AND BOONE, LLP
     Michael D. Sirota, Esq. (NJ Bar No. 014321986)             Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
     Warren A. Usatine, Esq. (NJ Bar No. 025881995)             Kenric D. Kattner, Esq. (admitted pro hac vice)
     Court Plaza North, 25 Main Street                          30 Rockefeller Plaza, 26th Floor
     Hackensack, New Jersey 07601                               New York, New York 10112
     (201) 489-3000                                             (212) 659-7300
     msirota@coleschotz.com                                     richard.kanowitz@haynesboone.com
     wusatine@coleschotz.com                                    kenric.kattner@haynesboone.com

     KIRKLAND & ELLIS LLP                                       Attorneys for Debtors and
     KIRKLAND & ELLIS INTERNATIONAL LLP                         Debtors in Possession
     Joshua A. Sussberg, P.C. (admitted pro hac vice)
     Christine A. Okike, P.C. (admitted pro hac vice)
     601 Lexington Avenue
     New York, New York 10022
     (212) 446-4800
     jsussberg@kirkland.com
     christine.okike@kirkland.com

     Attorneys for Debtors and
     Debtors in Possession


                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF NEW JERSEY


 In re:                                                          Chapter 11

 BLOCKFI INC., et al.,                                           Case No. 22-19361 (MBK)

                                       Debtors. 1                (Jointly Administered)



                       DEBTORS’ REPLY IN SUPPORT OF DEBTORS’
                  MOTION FOR ENTRY OF AN ORDER (I) EXTENDING THE
               DEBTORS’ EXCLUSIVE PERIODS TO FILE A CHAPTER 11 PLAN
              AND SOLICIT ACCEPTANCES THEREOF PURSUANT TO SECTION
          1121 OF THE BANKRUPTCY CODE AND (II) GRANTING RELATED RELIEF

            The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

 this reply (this “Reply”) in support of the Debtors’ Motion for Entry of an Order (I) Extending the




 1      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet
        LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC
        (2422); BlockFi Services, Inc. (5965); and BlockFi Lending II LLC (0154). The location of the Debtors’ service
        address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.
Case 22-19361-MBK            Doc 740      Filed 04/14/23 Entered 04/14/23 16:33:53                     Desc Main
                                        Document      Page 2 of 13



 Debtors’ Exclusive Periods to File a Chapter 11 Plan and Solicit Acceptances Thereof Pursuant

 to Section 1121 of the Bankruptcy Code and (II) Granting Related Relief [Docket No. 659]
                  2
 (the “Motion”) and in response to the Objection of the Official Committee of Unsecured Creditors

 to Debtors’ Motion to Extend Exclusivity Period (the “Objection”) [Docket No. 733] filed by the

 official committee of unsecured creditors appointed in the Debtors’ Chapter 11 Cases

 (the “Committee”). In support of this Reply, the Debtors state the following:

                                                      Reply

         1.       The Committee and its counsel think it is healthy to have a good, cathartic hearing

 every now and then. And that is a direct quote. That is the sole reason customer resources are

 being wasted on pleadings regarding exclusivity and the hearing set for April 19, 2003. The reality

 here is the negotiation came down to a mere 11 days (i.e., July 31 or August 11). All the more

 reason a pleading seeking to terminate exclusivity is outrageous.

         2.       Since the start of these chapter 11 cases, the Committee has asserted that their

 relationship with the Debtors should be adversarial in nature. The Debtors have resisted this

 approach. Nearly three months ago, the Debtors’ management team met with the Committee

 members to introduce themselves and begin a dialogue. The Debtors were seeking a partnership

 on the shared objective of an expeditious, efficient, and cordial process. Unfortunately, however,

 almost immediately thereafter, the Committee’s counsel subverted this accord by declaring that

 the parties should no longer have additional direct communication.

         3.       Regardless, the Debtors were pleased that on April 10, 2023, the Debtors and their

 advisors met with the Committee’s advisors for over five hours to walk through an 88-page deck

 outlining certain contours of a proposed chapter 11 plan that contemplated a standalone transaction


 2
     Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.


                                                         2
Case 22-19361-MBK        Doc 740     Filed 04/14/23 Entered 04/14/23 16:33:53            Desc Main
                                   Document      Page 3 of 13



 structure. During that meeting, the Debtors’ advisors and the Committee’s advisors engaged in

 productive discussions on key issues fundamental to the formulation of any plan. At this same

 meeting, the Debtors’ advisors provided the Committee’s advisors with an update on the status of

 the sale process (which is ongoing) and both parties acknowledged the need to evaluate and

 compare the potential third party transactions versus any standalone options. The Committee’s

 advisors asked numerous questions regarding the sale process and self-liquidating plan and

 acknowledged the work that still needs to be done to determine the path forward.

        4.      At the same meeting, the Debtors revealed their case confirmation schedule and

 outlined considerations underlying their proposed timeline, including the time needed to evaluate

 whether to proceed with a self-liquidating plan or a third‑party transaction, the desire to engage

 with regulators in formulating the plan, and the sheer number of parties that need to be solicited.

 The Committee advisors agreed with the Debtors’ advisors on this timeline.

        5.      In an about-face just two days later, the Committee suggests that exclusivity needs

 to be terminated to “kick-start” plan negotiations. The Committee’s Objection is an unfortunate

 waste of estate resources for no reason. The Debtors have been making significant progress on all

 available potential paths and have been engaging with the Committee and all key constituencies

 on the terms of a chapter 11 plan. And as the Committee is aware, these discussions are far from

 complete.

        6.      It is imperative that the Debtors have a reasonable amount of time to propose and

 prosecute a chapter 11 plan. The Debtors also recognize that these cases must progress quickly.

 As such, the Debtors have planned an aggressive confirmation schedule, summarized below:




                                                 3
Case 22-19361-MBK          Doc 740     Filed 04/14/23 Entered 04/14/23 16:33:53              Desc Main
                                     Document      Page 4 of 13



                                     Revised Confirmation Schedule
              Action                  Original Timing                     New Timing
     Target date for filing of
      Disclosure Statement              April 17, 2023                    May 1, 2023
      and Chapter 11 Plan
        Proposed Filing
                                        June 26, 2023                     May 15, 2023
     Exclusivity Expiration
      Proposed Disclosure
                                 May 18, 2023, at 4:00 p.m.,       May 30, 2023, at 4:00 p.m.,
      Statement Objection
                                  prevailing Eastern Time           prevailing Eastern Time
            Deadline
      Proposed Disclosure        May 25, 2023, at 11:30 a.m.,     June 8, 2023, subject to Court
       Statement Hearing          prevailing Eastern Time                  availability
     Proposed Confirmation        July 6, 2023, at 4:00 p.m.,      July 20, 2023, at 4:00 p.m.,
       Objection Deadline          prevailing Eastern Time          prevailing Eastern Time
     Proposed Confirmation       July 20, 2023, at 11:30 a.m.,   August 7, 2023, subject to Court
            Hearing                prevailing Eastern Time                 availability
       Proposed Soliciting
                                       August 28, 2023                   August 11, 2023
      Exclusivity Expiration

         7.     Notably, in the spirit of compromise, the Debtors have agreed to reduce the

 proposed Filing Exclusivity Period by forty-two days, from June 26, 2023, to May 15, 2023, and

 the proposed Soliciting Exclusivity Period by seventeen days from August 28, 2023, to August 11,

 2023.

         8.     This proposed timeline would be ambitious for any debtor. Here, it is even more

 ambitious in the face of several obstacles the Debtors will have to overcome. The sheer number

 of clients who will be solicited and eligible to participate in the plan voting process in these cases

 is daunting. There are more than 300,000 clients and other creditors who ultimately will be eligible

 to cast a vote and will receive solicitation packages. Tabulating the votes received after solicitation

 will require even more time.             In the suggested timeline above, the days between

 Disclosure Statement approval and the Confirmation Hearing are dictated by the statutory notice

 period and the time it will take the Debtors’ claims agent to solicit and tabulate votes. In an

 ordinary chapter 11 case, solicitation and tabulation takes slightly over a month. When accounting


                                                     4
Case 22-19361-MBK         Doc 740     Filed 04/14/23 Entered 04/14/23 16:33:53             Desc Main
                                    Document      Page 5 of 13



 for the bare minimum of days it will take to send and count ballots, the above timeline has virtually

 no additional cushion.

         9.       The Debtors are navigating a hugely complex case, notwithstanding the

 Committee’s suggestions to the contrary. The Debtors also need time to appropriately plan for

 and address the concurrent Bermuda proceedings related to Debtor BlockFi International Ltd.,

 including gaining that Court’s approval (and potentially the approval of the Bermuda Monetary

 Authority) of any contemplated transaction and reaching resolution surrounding the intercompany

 arrangements and intricacies between Debtors. This is taking place simultaneously with the issues

 surrounding custodial cryptocurrency—the Ad Hoc Committee of Wallet Account Holders has

 propounded, and the Debtors have responded to, over 100 requests for information in relation to

 the legal status surrounding the “Platform Pause,” a legal question currently sitting on the Court’s

 docket in “suspense.” All of this is in addition to prosecuting multiple adversary proceedings,

 each of which has its own set of litigants, discovery, and motion schedules, and all of which will

 inform final plan recoveries.

         10.      The Committee acknowledges that these cases are complex while also

 characterizing the Debtors as having a “relatively simple capital structure” and “no real obstacles

 to creating an appropriate value-allocation and distribution scheme for a plan.” 3 In the Objection,

 the Committee minimizes the truly massive amount of diligence it has received to‑date⁠ in

 connection with its ongoing Bankruptcy Rule 2004 investigation⁠—including receiving responses

 to well in excess of 100 diligence requests and taking seven depositions so far. Surely, in a case

 that they assert is “relatively simple,” such a massive discovery process would be unwarranted.

 Nevertheless, the Debtors have engaged with the Committee on all fronts, including responding to


 3   See Objection ¶ 1.


                                                  5
Case 22-19361-MBK            Doc 740       Filed 04/14/23 Entered 04/14/23 16:33:53                     Desc Main
                                         Document      Page 6 of 13



 a series of duplicative questions, holding meetings on their data structure, historical transactions,

 business lines, and providing them with other interviews with management.

         11.      Quite frankly, it is astonishing that the Committee somehow asserted in its

 Objection that “the Debtors and the Committee have now completed all other investigations and

 analyses necessary to wrap up the bankruptcy.” 4 On the contrary, the Committee filed this

 Objection in the middle of an ongoing deposition of the Debtors’ Chief Risk Officer, while the

 Committee was simultaneously scheduling two additional depositions for the week of April 24th

 and asking additional diligence questions. In addition, the Committee has served subpoenas on

 two third-party accounting firms, both of which remain open.                         This ongoing discovery

 demonstrates one of two conclusions: either (a) contrary to its representation to the Court, the

 Committee’s investigation is ongoing, or (b) the Committee continues to waste time and estate

 assets on discovery and depositions it does not need because it has already concluded its

 investigation. 5 Either answer (among other things) substantially undercuts the credibility of the

 Committee’s “investigation.” The Committee has yet to locate any “there-there,” yet it marches

 on—all to the detriment of its own constituency.

         12.      Against this backdrop, the Debtors formulated the proposed extensions of the

 Exclusivity Periods and the revised confirmation timeline to balance the necessary expediencies

 of these Chapter 11 Cases against the remaining obstacles described above. This is the first

 exclusivity extension that the Debtors have requested, a request that is routinely granted, especially

 when a Debtor has met their legal burden based on the progress made in these cases to date.


 4   Objection ¶ 1.
 5   The Committee suggests that some issues to be addressed and resolved involve “resolution and avoidance of
     intercompany transfers, [and] avoidance of payments to and on behalf of insiders,” Objection ¶22(b), yet it has
     chosen to ask nearly zero relevant questions on any of these topics of any the seven witnesses it has spent more
     than 30 hours of on-the-record time deposing so far.


                                                         6
Case 22-19361-MBK          Doc 740     Filed 04/14/23 Entered 04/14/23 16:33:53              Desc Main
                                     Document      Page 7 of 13



 Notwithstanding that progress, the Committee is clearly trying to bring these Chapter 11 Cases to

 a screeching halt for the opportunity to put forth its own competing plan, which would be based

 on nothing more than conjecture and jumping to conclusions regarding open issues. That was

 made clear in the Objection. The Committee is merely seeking to assert inappropriate control

 under the guise of inaccurate and misleading statements as to the status of these Chapter 11 Cases

 and the complexities facing the Debtors at this stage. This is exactly why an extension of

 exclusivity is appropriate.

         13.      First, the Committee suggests that in formulating a chapter 11 plan, the Debtors

 need only consider the fact that they “have cash” and “need a vehicle to distribute it to creditors.” 6

 As described herein and in the Motion, this is a massive oversimplification. There are many

 complexities that must be resolved before the Debtors, or any party, can propose a plan that can

 reliably make any distributions to creditors. Such issues include the treatment of potential

 preferences; the treatment of digital assets held in Wallet accounts and the legal status of the

 Platform Pause; resolving all issues surrounding BlockFi International Ltd.; the treatment of

 intercompany claims; running a fulsome sale process; determining whether the results of that

 process yield a value maximizing alternative transaction that will provide more value to creditors

 than a self-liquidating plan; assessing precisely what an alternative transaction, a self‑liquidating

 plan, or some combination thereof would require; and ensuring that the Debtors have resources in

 place to ensure that their chosen plan can be effectuated while maximizing recoveries to creditors. 7

 There is no spigot that can just be turned on for the Debtors’ assets to be distributed. Notably, the

 Debtors attempted to immediately distribute client assets held in Wallet accounts, which the


 6   Objection ¶ 11.
 7   Objection ¶ 22(b).


                                                   7
Case 22-19361-MBK              Doc 740      Filed 04/14/23 Entered 04/14/23 16:33:53                       Desc Main
                                          Document      Page 8 of 13



 Debtors do not believe is property of the estate, but were met with opposition from the Committee

 who wants to explore potential preference claims for these assets. These complexities alone

 support the extensions the Debtors seek in their Motion. 8

          14.      Second, the Committee miscites the support for its argument that the only question

 that matters here is whether the proposed extensions will move these Chapter 11 Cases forward. 9

 As an initial matter, the court in Dow Corning refused to terminate the debtor’s exclusivity period.

 See generally In re Dow Corning Corp., 208 B.R. 661 (Bankr. E.D. Mich. 1997). Instead, the

 court granted the debtor an extension of its exclusivity period despite the debtor expressly

 admitting that it filed an initial plan and disclosure statement “not . . . for the purpose of proceeding

 to confirmation, but merely as a tactic.” Id. at 670. (emphasis added). Moreover, the court did

 not make this test “dispositive” writ large, as the Committee appears to suggest. 10 Rather, the

 court found it to be an “overriding factor that weigh[ed] heavily against” terminating exclusivity

 in that case. Id. at 670. Thus, the Committee’s reliance on Dow Corning is, at best, misplaced

 and, at worst, disingenuous. There is zero authority for a case as complex as this proceeding

 without even a single extension of the exclusivity period (and the Committee cites no such

 authority).

          15.      Contrary to the Committee’s assertion, termination of exclusivity at this juncture

 would immediately imperil these cases rather than accelerate them toward a positive resolution.


 8    See H.R. No. 95-595, at 231⁠–⁠32, 406 (1978), preprinted in 1978 U.S.C.C.A.N. 5787, 6191 (“[I]f an unusually
      large company were to seek reorganization under chapter 11, the court would probably need to extend the time in
      order to allow the debtor to reach an agreement.”); In re Texaco, Inc., 76 B.R. 322, 327 (Bankr. S.D.N.Y. 1987)
      (“The large size of the debtor and the consequent difficulty in formulating a plan of reorganization for a huge
      debtor with a complex financial structure are important factors which generally constitute cause for extending the
      exclusivity periods.”).
 9    Objection ¶¶ 20, 23 (repeatedly citing In re Dow Corning Corp., 208 B.R. 661, 664-65 (Bankr. E.D. Mich. 1997);
      accord In re Adelphia Commc’ns Corp., 352 B.R. 578, 587 (Bankr. S.D.N.Y. 2006)).
 10   Objection ¶ 23.


                                                           8
Case 22-19361-MBK             Doc 740     Filed 04/14/23 Entered 04/14/23 16:33:53         Desc Main
                                        Document      Page 9 of 13



 A rush to file a plan on the Committee’s preferred timeline will effectively end the possibility of a

 sale transaction. Due to the regulatory complexities surrounding migrating a customer platform,

 and the concurrent international proceeding, any bid or deal structure will be built into a plan that

 the Debtors solicit and ultimately submit to the Court for confirmation. Hastily throwing together

 a plan that does not account for these complexities, or worse, introducing the uncertainty of

 potential competing plans, will significantly hamper all bidder discussions and may shut down one

 of the only remaining viable avenues to allow the Debtors to make distributions in kind, rather

 than in cash.

          16.      The suggestion that there is only one possible path forward here—a liquidation—is

 wholly false, and the Committee knows it. 11 The Committee⁠ has received weekly updates from

 the Debtors since its appointment and, as recently as of this Monday, actively engaged in

 discussions with the Debtors regarding the contours of a go‑forward business in the event the

 Debtors choose to pursue a third‑party transaction. The Committee laments that it “should have

 the opportunity to assist” the Debtors in formulating a plan and that competing plans “may

 encourage [the Debtors] to negotiate more seriously, bringing them closer to the bargaining

 table.” 12 These negotiations are ongoing, and the Committee has been an active participant. The

 Committee’s protestations that the Debtors have not sufficiently engaged with them in the course

 of these Chapter 11 Cases are unfortunate, because they are simply untrue. The statements by the

 Committee are irresponsible.




 11   See Objection ¶¶ 1, 10, 22(b).
 12   Objection ¶¶ 12, 24.


                                                   9
Case 22-19361-MBK              Doc 740 Filed 04/14/23 Entered 04/14/23 16:33:53                             Desc Main
                                      Document    Page 10 of 13



          17.        As far as the Debtors’ legal burden is concerned, the Committee cherry-picks which

 Dow Corning factors 13 to (incorrectly) analyze, failing to address four of the seven other major

 factors that support the extensions of the Exclusivity Periods here—namely, that: (a) the Debtors

 have made good faith progress, and plenty of it, toward exiting chapter 11; (b) the Debtors are

 paying their bills as they come due; (c) the Debtors’ cases remain less than six months old and are

 well ahead of the pace set by comparable cryptocurrency bankruptcies; 14 and (d) an extension will

 not, and is not intended to, pressure creditors. 15

          18.        The Committee’s concerns regarding the “burn” of professional fees in these cases

 are comical in the face of this back and forth and the reality that the Committee has itself imposed

 a truly massive sum of professional fees on the Debtors (and continues to do so). And as the

 Committee’s objection here vividly illustrates, the Committee objecting to nearly every motion the

 Debtors file (as has been the path to date) is the most significant contributor thus far to the burn.

 How allowing the Committee advisors to draft a competing plan would stem the flow of

 professional fees is a question the Committee does not and cannot answer, because it well knows

 that path would have exactly the opposite result. BlockFi’s clients should be concerned with this

 behavior.




 13   See In re Dow Corning Corp., 208 B.R. 661 at 664—65.

 14   See, e.g., Order (I) Approving the Second Amended Disclosure Statement and (II) Confirming the Third Amended
      Joint Plan of Voyager Digital Holdings, Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
      Code, In re Voyager Digit. Holdings, Inc., No. 22-10943-MEW (Bankr. S.D.N.Y. Mar. 8, 2023)
      [Docket No. 1157] (confirming the debtor’s plan more than eight months after the petitions were filed on July 5,
      2022); Order (I) Extending the Debtors’ Exclusive Periods to File a Chapter 11 Plan and Solicit Acceptances
      Thereof Pursuant to Section 1121 of the Bankruptcy Code and (II) Granting Related Relief, In re Celsius Network
      LLC, No. 22‑10964-MG (Bankr. S.D.N.Y. Mar. 9, 2023) [Docket No. 2203] (granting an extension of the debtor’s
      exclusivity period to file a plan and disclosure statement to a total of 261 days from the debtor’s petition date).
 15   Motion ¶ 15.


                                                           10
Case 22-19361-MBK        Doc 740 Filed 04/14/23 Entered 04/14/23 16:33:53                 Desc Main
                                Document    Page 11 of 13



        19.     As described herein, these cases have progressed at an aggressive pace since they

 were filed, especially when compared to similar cryptocurrency cases. The Debtors have crafted

 the proposed timeline to minimize unnecessary delay, which is an effort to reduce the professional

 fee spend. Each of the Debtors’ decisions in these cases, including formulating an actionable plan,

 filing the Wallet Withdrawal Motion, initiating the Emergent Adversary Proceeding, and

 cooperating with the Committee’s truly massive diligence requests (rather than fighting them or

 forcing the Committee to seek a Court Order attempting to justify them) were crafted to return the

 most value to the Debtors’ stakeholders as quickly as possible. The Debtors’ professionals remain

 aligned toward this goal. The notion that the Debtors are asking for extension of the Exclusivity

 Periods simply because “they can” is a tacit, if not an explicit, admission that Committee has no

 leg to stand on. The Committee cannot credibly argue that a termination of exclusivity at this

 critical juncture will benefit the estates, or that the Debtors are seeking to extend the timeline

 associated with this case for no tactical reason. On the contrary, the Debtors have been clear

 regarding their goal of returning client funds as soon as possible, as evidenced by the Wallet

 Withdrawal Motion, which would have returned approximately $300 million worth of funds back

 to Wallet clients had the Debtors’ proposed path been accepted.

        20.     Rather than assist the Debtors in this goal and work to progress these cases quickly,

 the Committee has instead imposed significant costs on the Debtors through a legal strategy of

 obstructionism, whether through its objections to many of the Debtors’ fairly straightforward

 requests to date (including this one) or the continued prosecution of a Bankruptcy Rule 2004

 examination for an “investigation” the Committee already says in its Objection is “complete.” The

 Debtors have been willing to indulge the Committee on a truly massive sum of requests to allow

 an investigation to be completed in earnest, and in an effort to reach a consensual agreement on a


                                                 11
Case 22-19361-MBK         Doc 740 Filed 04/14/23 Entered 04/14/23 16:33:53                 Desc Main
                                 Document    Page 12 of 13



 plan. Based on the Committee’s continued discovery efforts, while representing to the Court that

 its investigation is complete, there appears to be little if any legitimacy to its ongoing process.

 More broadly, taking their Objection on its face, the Committee appears blissfully ignorant to the

 complexities and realities of a plan process and the inefficiencies it has been the cause of.

        21.     The Debtors have demonstrated ample cause to preserve exclusivity at this

 important juncture. Allowing any competing plans to be proposed at this stage would introduce

 chaos and waste precious resources at a time when the Debtors simply cannot afford it.

        22.     For these reasons, as well as the reasons set forth in the Motion, the Court should

 grant the extension of the Filing Exclusivity Period for forty-eight days and the Solicitation Period

 for seventy‑three days and overrule the Objection.



                            [Remainder of page intentionally left blank]




                                                  12
Case 22-19361-MBK         Doc 740 Filed 04/14/23 Entered 04/14/23 16:33:53              Desc Main
                                 Document    Page 13 of 13



        WHEREFORE, the Debtors submit that the Court should overrule the Objection and grant

 the relief requested in the Motion.

 Dated: April 14, 2023                          /s/ Michael D. Sirota
                                                  COLE SCHOTZ P.C.
                                                  Michael D. Sirota, Esq. (NJ Bar No. 014321986)
                                                  Warren A. Usatine, Esq. (NJ Bar No. 025881995)
                                                  Court Plaza North, 25 Main Street
                                                  Hackensack, New Jersey 07601
                                                  (201) 489-3000
                                                  msirota@coleschotz.com
                                                  wusatine@coleschotz.com

                                                  KIRKLAND & ELLIS LLP
                                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                                  Joshua A. Sussberg, P.C. (admitted pro hac vice)
                                                  Christine A. Okike, P.C. (admitted pro hac vice)
                                                  601 Lexington Avenue
                                                  New York, New York 10022
                                                  (212) 446-4800
                                                  jsussberg@kirkland.com
                                                  christine.okike@kirkland.com

                                                  HAYNES AND BOONE, LLP
                                                  Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
                                                  Kenric D. Kattner, Esq. (admitted pro hac vice)
                                                  30 Rockefeller Plaza, 26th Floor
                                                  New York, New York 10112
                                                  (212) 659-7300
                                                  richard.kanowitz@haynesboone.com
                                                  kenric.kattner@haynesboone.com

                                                  Attorneys for Debtors and
                                                  Debtors in Possession
